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IN THE UNITED STATES DISTRICT CdURT l JA d QZ_
NoRTHERN DISTRICT oF TEXA § N l 2099 j
DALLAS DIvISIoN Q

DANIEL EDWARDS, SR., AND
FELICIA EDWARDS,
AS NEXT FRIEND oF DANIEL
EDWARDS’ JR' crvIL AcrloN No.

Plaintiffs, 3` 0 9

V_ C VO 0 8 5 " N

GREENHILL ScHooL,

Defendant.

 

DEFENDANT GREENHILL scHooL's NoTICE oF REMovAL 9190’7 7/`

Pursuant to 28 U.S.C. §§ 1441, 1443, and 1446, and in accordance With 28 U.S.C.
§ 1331, Defendant Greenhill School, by its attorneys, hereby removes to the United States
District Court for the Northern District of Texas, Dallas Division, the state court action described
beloW. Removal is based on the following grounds:

1. On December 12, 2008, Daniel Edwards, Sr. and Felicia Edwards, as next friend
of Daniel Edwards, Jr., commenced an action via an Original Petition (“Petition”) in the l60th
District Court of the State of Texas in and for the County of Dallas, against Greenhill School,
bearing No. 08-15524, and captioned Dam`el Edwards, Sr. and Felicia Edwards, as next friend of
Daniel Edwards, Jr., v. Greenhill School (the “State Court Action”).

2. Greenhill School received a copy of the Petition on December 16, 2008. This
Notice of Removal is filed within thirty (30) days after receipt by Greenhill School of the
Petition as required by 28 U.S.C. § l446(b).

3. This is a civil action over Which this Court has original jurisdiction under 28

U.S.C. § 1331, and is one Which may be removed to this Court by Defendant under 28 U.S.C. §

Defendant Greenhill School’s Notice of Removal - Page 1

 

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144l(b) and (c) and 28 U.S.C. § 1443, because the Petition contains a claim founded on or right
arising under the United States Constitution.and laws of the United States and involving a law
providing for equal rights.

4. Plaintiffs’ Petition states, in relevant part, that “Defendant discriminated against
Plaintiff in connection with his education or limited, segregated or classified Plaintiff in a
manner that would deprive or tend to deprive him of the equal opportunity to learn or adversely
affect his status because of Plaintiff`s race, color, and national origin,” and that “Defendant
discriminated against Plaintiff on the basis of race, color and national origin with malice or with
reckless indifference to the federal-protected rights of Plaintiff.” Petition 11 12, 13.

5. 28 U.S.C. § 1331 provides original jurisdiction in the district courts of the United
States for “all civil actions arising under the Constitution, laws, or treatise of the United States.”
28 U.S.C. § 1331. The rights Plaintiffs attempt to invoke and enforce in their Petition -the right
to equal protection of the laws and “federal-protected rights” - are rights created and guaranteed
by the Fourteenth Amendment to the United States Constitution and federal statutes. Thus,
because Plaintiffs’ Petition is expressly and necessarily based on rights granted and guaranteed
by the United States Constitution and federal statutes, jurisdiction is proper in this Court.

6. 28 U.S.C. § 1441(b) permits removal to federal district court of actions involving
a federal question Joinder of otherwise non-removable state law claims does not prohibit
removal of the entire case to federal district court to determine all issues. 28 U.S.C. § l44l(c).
Therefore, Plaintiffs’ allegations of race-based discrimination and violation of federally
protected rights present federal questions, and Plaintiffs’ joinder of state law claims does not

impede removal.

Defendant Greenhill School’s Notice of Removal - Page 2

Case 3:09-cV-OOO.N Document 1 Filed 01/14/09 .ge 3 of 56 Page|D 3

7. 28 U.S.C. § 1443 permits removal of civil actions “for any act under color of
authority derived from any law providing for equal rights”. Plaintiffs allege deprivation of
“equal opportunity” to leam. Thus, the Petition asserts a cause of action arising out of a law
providing for equal rights and is therefore subject to removal.

8. True and correct copies of all process and pleadings served on Greenhill School
are attached hereto as Exhibit A pursuant to 28 U.S.C. § 1446(a). Pursuant to Local Rule 81.1 of
this Court, Exhibit B contains an index of all documents filed in the State Court Action, a copy
of the docket sheet in the State Court Action, and a chronological, separately tabbed copy of each
document filed in the State Court Action. A separately signed certificate of interested persons in
compliance with Local Rule 3.1(f) is attached hereto as Exhibit C.

9. A copy of the Notice of Filing for Removal is attached hereto as Exhibit D.
Promptly after filing this Notice with the United States District Clerk, Greenhill School will file
a copy of the attached Exhibit D with the 160th District Court of the State of Texas in and for the
County of Dallas, and will serve that notice on Plaintiffs as required under 28 U.S.C. § l446(d).

WHEREFORE, Greenhill School removes the State Court Action now pending in the
160th District Court in and for the County of Dallas from that state court to this Court.

DATE: January 14, 2009

Defendant Greenhill School’s Notice of Removal - Page 3

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Respectfully submitted,

GIBSON, DUNN & CRUTCHER LLP

By: <;-\_)`~K § \»L~J\
Robert B. Krakow
State Bar No. l 1702000
erakow@gibsondunn.com
2100 McKinney Avenue, Suite l 100
Dallas, Texas 75201
Telephone: (214) 698-3100
Facsimile: (214) 571-2900
ATTORNEYS FOR DEFENDANT
GREENHILL SCHOOL

Defendant Greenhill School’s Notice of Removal - Page 4

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing has been served by Certified Mail,
Return Receipt Requested, on this 14th day of January, 2009, as follows:

Ray Jackson

Jackson Law Center

2989 N. Stemmons Freeway

Dallas, TX 75247

Telephone: (214) 651-6250

Facsimile: (214) 651-6244

ATTORNEY FOR PLAINTIFFS,

Daniel Edwards, Sr., and Felicia Edwards,
as Next Friend of Daniel Edwards, Jr.

Defendant Greenhill School’s Notice of Removal - Page 5

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

DANIEL EDWARDS, sR., AND
FELiciA EDWARDS,

As NExT FRIEND oF DANIEL
EDWARDS’ ]R' CiviL AcTioN No.

Plaintiffs,
v.
GREENHILL SCHOOL,

Defendant.

 

INDEX OF EXHIBITS TO DEFENDANT GREENHILL SCHOOL’S
NOTICE OF REMOVAL

A. Plaintiffs’ Original Petition - file stamped December 12, 2008
Documents Required by Local Rule 81.1

1. Docket Sheet (certified copy) regarding Cause No. DC-08-15524 pending in the
160th Judicial District Court of Dallas County, Texas

2. Documents Filed in Cause No. DC-08-15524 pending in the 160th Judicial
District Court of Dallas County, Texas

Certificate of Interested Persons

D. State Court Notice of Filing for Removal

Index of Exhibits to Defendant Greenhill School’s Notice of Removal - Page 1

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\/Q/ DANIEL EDWARDS, SR., ANDN

§ IN THE DISTRICT COv
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As NEXT FRIENI) 0F DANIEL § \\ .
0 EDWARDS, J'R. §
§
Plaintiffs, gang m -=§§ 35
v, § ______ JUDICIAL DISTRICT
- §
GREE_NHILL sCHooL §
Defendant. § oF DALLAS CoUNrY, TEXAS

PLAINTIFFS‘ ORIGINAL PETITION

T'O THE HONORABLE JUDGE OF SAID COURT:

NOW COME Daniel Edwards, Sr. and Felicia Edwards, as Next Friend of Daniel Edwards,
Jr., hereinafter called Plaintiffs, complaining of and about iGreenhill School, hereinafter called
Defendant, and for cause of action show unto the Court the following:

DISCOVERY CONTROL PLAN LEVEL
1. Plaintiffs intend that discovery be conducted under Discovery Level 2.
PARTIES AND SERVICE

2. Plaintiff, Daniel Edwards, Sr., an Individual whose address is 4945 Berridge Lane
Dallas, `Texas 7522'7, brings this action as Next Friend of Daniel Edwards, Jr., an lndividual.

3. The last three digits of the driver‘s license number of Daniel Edwards are 573. The
last three digits of the social security number for Daniel Edwards are 5966.

4. Plaintiff, Felicia Edwards,~an lndividual whose address is 4945 Berridge Lane Dallas,
Texas 75227, brings this action as Next Friend of Daniel Edwards, Jr., an Individual.

5. The last three digits of the driver‘s license number of Felicia Edwards are 219. The

 

Plaintiff’s Original Petition Page 1 of 9

 

 

 

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last three digits of the social security number for Felicia Edwards are 485.

6. As used herein, "Plaintiff' Shall include not only named Plaintiffs, but also persons
whose claims are being represented by a Plaintiff.

7. Defendant Greenhill School, a Non-Profit School, may be served with process by / a(/;L
serving The Registered Agent of said Private School, Scott Griggs, at 4141 Spring Valley Road, M£
Addison, Texas 75001-3683. Serviee of said Defendant as described above can be effected by 1

personal delivery.

JURISDICTION AND VENUE

8. The subject matter in controversy is within the jurisdictional limits of this court.
9. This court has jurisdiction over the parties because Defendant is a Texas Non-Profit

School.

lO. Venue in Dallas County is proper in this cause under Section lS.OOZ(a)(l) of the
Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions
giving rise to this lawsuit occurred in this county.

FACTS n

l l. During the course of Daniel Edwards, ]r.'s ("D.J.") enrollment at Greenhill School he
suffered continuous and systematic discrimination from faculty and staff because of his race.
Throughout his time at l)efendant school, it continued to approve this behavior by acquiescing and
keeping the faculty and staff involved in the discrimination employed DJ was made to endure being
locked in the bathroom by his teacher as well as being told that he was not allowed to raise his hand
and ask any questions in the classroom Even more egregious, DJ's teachers lied on him to his

parents that he said the word "Bitch. " However, after an investigation, it was determined that it was

 

Plaintiffs Original Petition Page 2 of 9

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DJ's teachers who called Ms. Edwards, DJ‘s mom, a “Bitch." ln addition, during the course of the
fall semester, DJ was assaulted on separate occasions by two different Greenhill school teachers,
Mrs. Dawne Hathaway and Ms. Carla Kinney. The first assault took place at the Collin County
History Museum. On this field trip Ms. Hathaway grabbed DJ several times without cause. The
severity of the grabbing was so egregious that a parent who was present felt compelled to provide an
affidavit concerning the incident to local law enforcement On another incident DJ raised his hand
and Ms. Kinney, the Second Grade Teaching Fellow, went over to DJ and began saying that she
didn’t care what he wanted and told him again that she didn’t care what he wanted. Later DJ asked
to go to the bathroom and when he returned to the classroom, Ms. Kinney grabbed DJ's shirt by the
throat area and drug him behind the cubby area in the class. There, she told him he was not allowed
to ask anymore questions in the class. In another incident, Ms. Kinney assaulted DJ by grabbing
him around his genitalia and began squeezing. DJ pleaded with her to stop grabbing him in that
manner, but she continued and all the while she was admonishing and berating him. Defendant
failed to act even after being made aware of what happened to DJ. In violation of Texas Law,
Defendant failed to abide by its fiduciary duty to report to local police any claims of child abuse and
possible sexual child abuse. Defendant not only failed to report this incident, it failed to even
initiate any investigation into the possible criminal violations which occurred on its campus.
DANIEL EDWARDS, JR.'S CLAIM FOR DISCRIMINATION
12. l)laintiff incorporates paragraphs l through ll as if recited verbatim herein. l

Defendant discriminated against Plaintiff in connection with his education or limited, segregated or
classified Plaintiff in a manner that would deprive or tend to deprive him of the equal opportunity to

learn or adversely affect his status because of Plaintiffs race, color and national origin. Routinely,

 

Plaintiff’ s Original Petition Page 3 of 9

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DJ was not allowed to ask questions in class and if he did he was threatened, assaulted and even
locked in the bathroom

13. Plaintiff alleges that Defendant discriminated against Plaintiff on the basis of race,
color and national origin with malice or with reckless indifference to the federal-protected rights of

Plaintiff

DANIEL EDWARDS, JR.'S CLAIM FOR INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

14. Plaintiff incorporates paragraphs l through 13 as if recited verbatim herein.
Defendant intentionally or recklessly began systematically discriminating against DJ. In front of the
other students, he was not allowed to raise his hand or to ask any questions lf other students
indicated that DJ did anything he would be punished first and then after investigation, the teachers
would always learn that the other students were lying on him. The other students did this because
they knew they could get away with it based on what they had seen the teachers do to DJ, i.e., j
locking DJ in the bathroom and not allowing him to come out and assaulting him. Defendant knew
that such behavior would subject Plaintiff to severe emotional distress because the defendant was
just a child and would often show the signs of being mistreated.

15. The Defendant’ s conduct was extreme and outrageous in character, and so extreme in
degree, as to go beyond all possible bounds of decency, as to be regarded as atrocious and utterly
intolerable in a civilized community In particular, the conduct was outrageous because defendant
knew and publicized in its mission the importance of fostering passion for learning and respect for
others. As a school that had been existence for over 50 years and having recently experience a child
committing suicide on its campus, the fragile nature of a child’s psyche should be protected

especially by those who are entrusted to do so.

 

Plaintiff’s Original Petition Page 4 of 9

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16. The defendant’s conduct proximately caused plaintiff damage in that it caused
Plaintiff to suffer severe emotional distress In particular, the defendant’s conduct was the direct and
proximate cause of severe mental pain and anguish as DJ began to have a lack of self worth and low
self esteem. Believing that he could not be involved in the class or he may be assaulted or locked in
the bathroom started to have an intense effect on him. In addition, DJ continues to suffer from
extreme anxiety and nervousness caused by the treatment he received from Defendant. ln addition,
DJ is often unable to sleep at night and constantly recalls what happened to him. Plaintiffs have
looked into seeking the services of a psychotherapist or counselor to assist DJ in dealing with his
mental anguish

17. In addition to severe emotional distress, DJ has suffered and will continue to suffer
additional damages as a proximate result of the defendant’s conduct in that, in all reasonable
probability, plaintiff will continue to suffer this mental pain and anguish for a long time into the
future.

EXEMPLARY DAMAGES

lS. The conduct of defendant described in this petition was grossly negligent so as to
entitle plaintiff to recover exemplary damages ln this connection, plaintiff will show that as a result
of defendant’ s conduct, Plaintiff has suffered losses of time and other expenses, including attorney’ s

fees incurred in the investigation and prosecution of this action. Accordingly, Plaintiff asks that

exemplary damages be awarded against the defendants in a sum within the jurisdictional limits of the

Court.

 

 

Plaintiff’s Original Petition Page 5 of 9

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DANIEL EDWARDS, JR.‘S CLAIM FOR ASSAULT AND BATTERY

19. Plaintiff incorporates paragraphs l through 18 as if recited verbatim herein.
DJ was criminally assaulted on more than one occasion while at Defendant’s school by its faculty
and staff Although made completely aware, Defendant failed to report this.possible criminal
occurrence or even simply investigate it at all. l\/loreover, Defendant maintained status quo and
made DJ continue to go to school every day and be in a classroom with his assaulters. Defendant
intentionally and knowingly caused bodily injury to DJ by striking him and grabbing him in his
genital area. Ms. Hathaway who is/was an employee of Defendant was acting within her scope of
employment when she took the students on a field trip and assaulted DJ. Ms. Kinney was also an
employee of Defendant and was acting within the course and scope of her employment when she
assaulted DJ.

2(). As a direct and proximate result of Defendant’s conduct as alleged in this petition,
Plaintiff sustained bodily injuries requiring attention.

21. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered
physical pain and mental anguish to his damage in an amount within the jurisdictional limits of

this Court.

CLAIM FOR NEGLIGENCE, NEGLIGENT HIRING1
RETENTION AND SUPERVISION
22. Plaintiff incorporates by reference paragraphs l- 21 set forth above.
23. Both Federal and State law imposes upon employers, a duty to hire, supervise, train

and retain competent employees Defendant was aware that at least 4 of its employs had either

 

Plaintiffs original Pemion ` Page 6 of 9

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assaulted DJ and or systematically discriminated against him in violation of state law and federal
law.

24. Despite this fact Defendant totally and consciously disregarded these past behaviors
and allowed these employees to remain employed and as a result DJ was subjected to continued
assaults and discrimination until finally, DJ’s parents were left with no choice but to remove him
from the school.

25. Defendant owed a legal duty to Plaintiff to hire, supervise, train, or retain competent
employees and/ or in the alternative independent contractors Defendant, with specific knowledge of
the threat of danger posed by these conditions continued their employment and thereby failing to
meet that duty.

26. Defendant failed to use ordinary care in retaining the employees ln fact, Defendant
knew or should have known that their continued employment would create an unreasonable risk of
harm to Plaintiff

27. As a result of Defendant’s breach of its duty to properly hire, train, and
supervise its employees and/or in the alternative independent contractors Plaintiff was caused to

suffer severe emotional damage and bodily injuries

DAMAGES FOR INJURED PARTY, DANIEL EDWARDS, .]R.
28. As a direct and proximate result of the occurrence made the basis of this lawsuit, the

subject of this lawsuit, Daniel Edwards, Jr., was caused to suffer severe damages, and to incur the

following damages:

 

Plaintiffs Original Petition Page 7 of 9

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A.

.U.O.W

Rea`sonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

Physical pain and suffering in the past;
Mental anguish in the past,
Mental anguish in the future; and

Exemplary Damages.

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiffs, Daniel Edwards, Sr., as Next

Friend of Daniel Edwards, Jr. and Felicia Edwards, as Next Friend of Daniel Edwards, Jr.,

respectfully pray that the Defendant be cited to appear and answer herein, and that upon a final

hearing of '”the cause, judgment be entered for the Plaintiffs against Defendant for damages in an

amount within the jurisdictional limits of the Court; together with pre-judgment interest at the

maximum rate allowed by law; post-judgment interest at the legal rate, costs of court; and such other

and further relief to which the Plaintiffs may be entitled at law or in equity.

Respectfully submitted,

The Jackson Law Firm

Ray/La€kson
Texas Bar No. 00797754
Jackson Law Center

 

 

Plaintiffs Original Petition Page 8 of 9

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2989 N. Stemmons Freeway

Dallas, Texas 75247

Tel. (214) 651-6250

Fax. (214) 651-6244

Attorney for Plaintiffs

Daniel Edwards, Sr., and Felicia Edwards, as Next
Friend of Daniel Edwards, Jr.

PLAINTIFFS HEREBY DEMAND TRIAL BY JURY

 

Plaintiffs Original Petition

 

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RETURN OF SERVICE AFFIDAVIT
CAUSE #DC-08-15524

STATE ()F TEXAS

COUNTY ()F DALLAS

  

1. I am not less than 18 years of age.

2. l will neither request the authority to nor will I serve any process in any case in which I a s .
or have an interest in the outcome of the case _

3. I have never been convicted of a felony or misdemeanor involving moral turpitude in any state or
federal jurisdiction

4. I have studied and am familiar with the Texas Rules of Civil Procedure, 'V'emon’s Civil Statutes,
Civil Remedies Code and all other applicable rules and statutes relating to the service of citations
and notices

CAl\/[E TO HAND ON‘THE 15 DAY OF DECEMBER A.D. 20 08 , AT
1100 O’CLOCK __P,M. AND EXECUTED BY DELIVERING`TO

GREENH]LL SCHOOL REG AGENT SCOT'I` GRIGGS 4141 VALLEY ROAD
ADDIS()N, TEXAS 7 5001.

ON THE l6 DAY OF DECEl\/[BER A.D. 20 08 , AT 10130 O’CLOCK A. M., THE
WITH]N NAMED DEFENDANT, IN PERS'ON, A TRUE COPY OF THIS ClTATlON, TO'G"ETHER`
WITH A COPY OF ORIGINAL PETI`I`ION AND 106 ORDER PER RULE 106 ORDER WITH DATE
'OF`SERVICE"M'ARKED THEREON.

 

       

 

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Tex s u reme Court ID#: 576

 

BEFORE ME, the undersigned Notary Public on this day personally appeared Gregory D. Harper known to
‘be the`Person whose name is signed 'to the above affidavit and sworn `t_o me that the representations
contained in the above affidavit are true and correct

Given under my hand and seal of office this l7 day of DECEMBER , 2008.

  
  
 
     

     
   
 

 

 

     

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Exhibit B

 

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

DANIEL EDWARDS, SR., AND
FELICIA EDWARDS,

AS NEXT FRIEND OF DANIEL
EDWARDS, JR.

Plaintiffs,
v.
GREENHILL SCHOOL,

Defendant.

 

CIVIL ACTION NO.

INDEX OF DOCUMENTS IN EXHIBIT B
(DOCUMENTS REQUIRED BY LOCAL RULE 81.1)

1. Docket Sheet (certified copy) regarding Cause No. DC-08-15524 pending in the 160th
Judicial District Court of Dallas County, Texas

2. Documents Filed in Cause No. DC-08-15524 pending in the 160th Judicial District

Court of Dallas County, Texas

a. Citation and Officer’s Return Certifying Service issued December 15, 2008,

served December 16 2008

b. Plaintiffs’ Original Petition file stamped December 12, 2008

Index of Documents in Exhibit B - Page 1

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Exhibit B. 1

 

GARY FITZSIMMONS, DISTRICT CLERK

Case 3:09-cV-000.N DOUQ§E SIWJQ/OQ .ge 23 of 56 Page|D 23

CASE NO. DC-08-15524

 

 

 

 

 

 

 

 

DANIEL EDWARDS, Sr., et al § Location: 160th District Court
vs. § Judicial Offlcer: JORDAN, JIM
GREENHILL SCHOOL § Filed on: 12/12/2008
§
C ASI:: ¥:\ FOR ;\»§."\ TION
Case Type: OTHER (CIVIL)
PAR'§‘Y }NI<‘ORMATE()N
Leaa' Attorneys
PLAINTIFF EDWARDS, DANIEL, Sr. JACKSON, RAY 214-651-6250
Retainea'
FELICIA EDWARDS AS NEST FRIED OF DANIEL
EDWARDS JR
DEFENDANT GREENHILL SCHOOL
D-/“`F» Ex’;zx’l`$ & ORI)lz:R..~j; <')F m 12 C<)IFRT §Nm:x
12/12/2008 ORIGINAL PETITION (OCA)
12/12/2008 ISSUE CITATION
12/15/2008 CITATION
GREENHILL SCHOOL served 12/16/2008
DA'PF. I"iNAN(‘lAL lNPURMA'I'u')\
PLAINTIFF EDWARDS, DANIEL, Sr.
Total Charges 230.00
Total Payments and Credits 230.00
Balance Due as of 1/6/2009 0-00
12/12/2008 Charge PLAINTIFF EDWARDS, DANIEL, 222.00
Sr.
12/12/2008 Charge PLAINTIFF EDWARDS, DANIEL, 8.00
Sr.
12/12/2008 PAYMENT Receipt # 80136-2008-DCLK PLAINTIFF EDWARDS, DANIEL, (230.00)
(CASE FEES) Sr.
12/15/2008 Void PLAINTIFF EDWARDS, DANIEL, 23().00
Sr.
12/24/2008 PAYMENT Receipt # 82696-2008-DCLK PLAINTIFF EDWARDS, DANIEL, (230,00)
(CASE FEES) Sr.

 

PAGE 1 OF l

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JUDiCIAL DISTR|CT
COURT OF DALLAS COUNTY, TEXAS

 

 

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Filed_: 12112/2008
OTHER (ClVlL)

   

  
     

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16|]th District Court

 

DANIEL EDWARDS, Sl". vs. GREENH|LL SCHOOL

|||I|||||||HH|

 

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Plaintiff Lead At!nmey
EDWARDS, DAN|EL, Sr. JACKSON, RAY

 

 

 

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GREENH|LL SCHOOL
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21
(Exhibit B.z.a)

Case 3:09-cv-000851.D0Cument 1 Filed 01/14/09 Pa’? of 56 Page|D 27

RETURN OF SERVICE AFFIDAVIT
CAUSE #DC-08-15524

STATE OF TEXAS

CGUNTY 0}3` DALLAS

  
  
  

I, Gregory D. Harpe_r make the following representations to the District Court of Dallas G§u v g _ - .
personal knowledge of the facts and statements contained in this at'iidavit and each is tru§ané¢c ct.

1. l am not less than 18 years of age.
2 I will neither request the authority to nor will 1 serve any process in any case in which I a ~
or have an interest in the outcome of the case __
3. 1 have never been convicted of a felony or misdemeanor involving moral turpitude in any state or
federal jurisdiction
-’-l4

1 have studied and am familiar with the Texas Rules of Civii Procedure, Vernon’s Civil Statutes,

Civil Remedies Code and all other applicable rules and statutes relating to the service of citations
and notices

CAl\/[E TO HAND ON\THE 15 DAY OF DECEl\/IBER A.D. 20 08 , AT
1100 O’CL()CK __P.lvl. AND EXECUTED BY DELIVERING TO

GREENHILL SCHOOL REG AGENT SCOTT GRIGGS 4141 VALLEY ROAD
ADDISON, TEXAS 75001.

ON THE 16 DAY OF DECEl\/[BER A.D. 20 08 ,AT 10:30 O’CLOCK A M., THE
WITH]N NAIVIED DEFENDANT, iN PERSON, A TRUE COPY OF THIS CiTATION, TOGETHER `

WITH A COPY OF ORIGINAL PETITION AND 106 ORDER PER RULE 106 ORDER W'ITH DATE
OF"SERVICE`MARKED THEREON.

       

 

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'TOTAL $ 70'.00 j*'Gr§-glrSLD)H/rper Uuthorized Person
Texas u reme Court ID#: 576 1

 

BEFORE ME, the undersigned Notary Pub1ic on this day personally appeared Gregory D. Harper known to

'be the`i?erson whose name is signed to the above affidavit and sworn to me that the representations
contained in the above affidavit are true and correct

Given under my hand and seal of oflice this 17 day of DECEMBER , 2008.

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Notary Public in anh\fe’r the State of Té)ras

 

       

 

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\('o' DANIEL EDWARDS, sR., AND § IN THE DISTRICT CoUR;r
¢, FELICIA EDWARDS, As §
,`b. As NEXT FRIEND oF DANIEL §
L ` EDWARDS, JR. §
§
Plaintiffs, §g ,_
V. § JUDICIAL DISTRICT
§
GREENHILL sCHooL §
Defendant. § oF DALLAS CoUNTY, TEXAS

PLAINTIFFS' ORIGINAL PETITION

T»O THE HONORABLE JUDGE OF SAID COURT:

NOW COME Daniel Edwards, Sr. and Felicia Edwards, as Next Friend of Daniel Edwards,
Jr., hereinafter called Plaintiffs, complaining of and about Greenhill School, hereinafter called
Defendant, and for cause of action show unto the Court the following:

DISC()VERY CONTROL PLAN LEVEL
l. Plaintiffs intend that discovery be conducted under Discovery Level 2.
PARTIES AND SERVICE

2. Plaintiff, Daniel Edwards, Sr., an lndividual Whose address is 4945 Berridge Lane
Dallas, ,Texas 75227, brings this action as Next Friend of Daniel Edwards, Jr., an Individual.

3. The last three digits of the driver‘s license number of Daniel Edwards are 573. The
last three digits of the social security number for Daniel Edi)vards are 5966.

4. Plaintiff, Felicia Edwards,~an Individual Whose address is 4945 Berridge Lane Dallas,
Texas 75227, brings this action as Next Friend of Daniel Edwards, Jr., an Individual.

5. The last three digits of the driver‘s license number of Felicia Edwards are 219. The

 

Plaintiff’s Original Petition Page 1 of 9

 

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last three digits of the social security number for Felicia Edwards are 485.

6. As used herein, "Plaintifi" shall include not only named Plaintiffs, but also persons
whose claims are being represented by a Plaintiff

7. Defendant Greenhill School, a Non-Profit School, may be served with process by ll @L;L
serving The Registered Agent of said Private School, Scott Griggs, at 4141 Spring Valley Road, Wi:}

Addison, Texas 75001-3683. Serviee of said Defendant as described above can be effected by d

personal delivery.

JURISDICTION AND VENUE
8. The subject matter in controversy is Within the jurisdictional limits of this court.
9. This court has jurisdiction over the parties because Defendant is a Texas Non-Profit

School.

lO. Venue in Dallas County is proper in this cause under Section lS.OOZ(a)(l) of the
Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions
giving rise to this lawsuit occurred in this county.

FACTS n

ll. During the course of Daniel Edwards, ]r.'s ("D.J.") enrollment at Greenhill School he
suffered continuous and systematic discrimination from faculty and staff because of his race.
Throughout his time at l)efendant school, it continued to approve this behavior by acquiescing and
keeping the faculty and staff involved in the discrimination employed DJ was made to endure being
locked in the bathroom by his teacher as well as being told that he was not allowed to raise his hand
and ask any questions in the classroom Even more egregious, DJ's teachers lied on him to his

parents that he said the word "Bitch." However, after an investigation, it was determined that it was

 

Plaintiff"s Original Petition Page 2 of 9

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DJ’s teachers who called Ms. Edwards, DJ's mom, a "Bitch." In addition, during the course of the
fall semester, DJ was assaulted on separate occasions by two different Greenhill school teachers,
Mrs. Dawne Hathaway and Ms. Carla Kinney. The first assault took place at the Collin County
History Museum. On this field trip Ms. Hathaway grabbed DJ several times without cause. The
severity of the grabbing was so egregious that a parent who was present felt compelled to provide an
affidavit concerning the incident to local law enforcement On another incident DJ raised his hand
and Ms, Kinney, the Second Grade Teaching Fellow, went over to DJ and began saying that she
didn’t care what he wanted and told him again that she didn’t care what he wanted. Later DJ asked
to go to the bathroom and when he returned to the classroom, Ms. Kinney grabbed DJ's shirt by the
throat area and drug him behind the cubby area in the class. There, she told him he was not allowed
to ask anymore questions in the class. In another incident, Ms. Kinney assaulted DJ by grabbing
him around his genitalia and began squeezing. DJ pleaded with her to stop grabbing him in that
manner, but she continued and all the while she was admonishing and berating him. Defendant
failed to act even after being made aware of what happened to DJ. ln violation of Texas Law,
Defendant failed to abide by its fiduciary duty to report to local police any claims of child abuse and
possible sexual child abuse. Defendant not only failed to report this incident, it failed to even
initiate any investigation into the possible criminal violations which occurred on its campus.
DANIEL EDWARDS, JR.'S CLAIM FOR DISCRIMINATION
lZ. Plaintiff incorporates paragraphs l through ll as if recited verbatim herein. n

Defendant discriminated against Plaintiff in connection with his education or limited, segregated or
classified Plaintiff in a manner that would deprive or tend to deprive him of the equal opportunity to

learn or adversely affect his status because of Plaintiffs race, color and national origin. Routinely,

 

Plaintiff’s Original Petition Page 3 of 9

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Dl was not allowed to ask questions in class and if he did he was threatened, assaulted and even
locked in the bathroom.

13. Plaintiff alleges that Defendant discriminated against Plaintiff on the basis of race,
color and national origin with malice or with reckless indifference to the federal-protected rights of

Plaintiff

DANIEL EDWARDS, JR.'S CLAIl\/l FOR INTENTIONAL INFLICTION OF
EMOTIONAL DISTRESS

l4. Plaintiff incorporates paragraphs l through 13 as if recited verbatim herein.
Defendant intentionally or recklessly began systematically discriminating against DJ. In front of the
other students, he was not allowed to raise his hand or to ask any questions If other students
indicated that DJ did anything he would be punished first and then after investigation, the teachers
would always learn that the other students were lying on him. The other students did this because
they knew they could get away with it based on what they had seen the teachers do to DJ, i.e.,
locking DJ in the bathroom and not allowing him to come out and assaulting him. Defendant knew
that such behavior would subject Plaintiff to severe emotional distress because the defendant was
just a child and would often show the signs of being mistreated

15. The Defendant’ s conduct was extreme and outrageous in character, and so extreme in
degree, as to go beyond all possible bounds of decency, as to be regarded as atrocious and utterly
intolerable in a civilized community In particular, the conduct was outrageous because defendant
knew and publicized in its mission the importance of fostering passion for learning and respect for
others. As a school that had been existence for over 50 years and having recently experience a child

committing suicide on its campus, the fragile nature of a child’s psyche should be protected

especially by those who are entrusted to do so.

 

Plaintiffs Original Petition Page 4 of 9

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16. T he defendant’s conduct proximately caused plaintiff damage in that it caused
Plaintiff to suffer severe emotional distress In particular, the defendant’ s Conduct was the direct and
proximate cause of severe mental pain and anguish as DJ began to have a lack of self worth and low
self esteem. Believing that he could not be involved in the class or he may be assaulted or locked in
the bathroom started to have an intense effect on him. In addition, DJ continues to suffer from
extreme anxiety and nervousness caused by the treatment he received from Defendant. In addition,
DJ is often unable to sleep at night and constantly recalls what happened to him. Plaintiffs have
looked into seeking the services of a psychotherapist or counselor to assist DJ in dealing with his
mental anguish

l7. In addition to severe emotional distress, DJ has suffered and will continue to suffer
additional damages as a proximate result of the defendant’s conduct in that, in all reasonable
probability, plaintiff will continue to suffer this mental pain and anguish for a long time into the
future.

EXEMPLARY DAMAGES

18. The conduct of defendant described in this petition was grossly negligent so as to

entitle plaintiff to recover exemplary damages In this connection, plaintiff will show that as a result
of defendant’ s conduct, Plaintiff has suffered losses of time and other expenses, including attorney’ s
fees incurred in the investigation and prosecution of this action. Accordingly, Plaintiff asks that

exemplary damages be awarded against the defendants in a sum within the jurisdictional limits of the

Court.

 

Plaintiff’s Griginal Petition Page 5 of 9

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DANIEL EDWARDS, JR.'S CLAIM FOR ASSAULT AND BATTERY

19. Plaintiff incorporates paragraphs 1 through 18 as if recited verbatim herein.
DJ was criminally assaulted on more than one occasion while at Defendant’s school by its faculty
and staff. Although made completely aware, Defendant failed to report this possible criminal
occurrence or even simply investigate it at all. Moreover, Defendant maintained status quo and
made DJ continue to go to school every day and be in a classroom with his assaulters. Defendant
intentionally and knowingly caused bodily injury to DJ by striking him and grabbing him in his
genital area. Ms. Hathaway who is/was an employee of Defendant was acting within her scope of
employment when she took the students on a field trip and assaulted DJ. Ms. Kinney was also an
employee of Defendant and was acting within the course and scope of her employment when she
assaulted DJ.

2(). As a direct and proximate result of Defendant’s conduct as alleged in this petition,
Plaintiff sustained bodily injuries requiring attention

21. As a direct and proximate result of Defendant’s conduct, Plaintiff has suffered
physical pain and mental anguish to his damage in an amount within the jurisdictional limits of

this Court.

CLAIM FOR NEGLIGENCE, NEGLIGENT HIRING1
RETENTION AND SUPERVISION

22. Plaintiff incorporates by reference paragraphs 1- 21 set forth above.
23. Both Federal and State law imposes upon employers, a duty to hire, supervise, train

and retain competent employees Defendant was aware that at least 4 of its employs had either

 

Plaintiff’ s Original Petition 5 Page 6 of 9

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assaulted DJ and or systematically discriminated against him in violation of state law and federal
law.

24. Despite this fact Defendant totally and consciously disregarded these past behaviors
and allowed these employees to remain employed and as a result DJ was subjected to continued
assaults and discrimination until finally, DJ’s parents were left with no choice but to remove him
from the school.

25. Defendant owed a legal duty to Plaintiff to hire, supervise, train, or retain competent
employees and/ or in the alternative independent contractors Defendant, with specific knowledge of
the threat of danger posed by these conditions continued their employment and thereby failing to
meet that duty.

26. Defendant failed to use ordinary care in retaining the employees ln fact, Defendant
knew or should have known that their continued employment would create an unreasonable risk of
harm to Plaintiff.

27. As a result of Defendant’s breach of its duty to properly hire, train, and

supervise its employees and/or in the alternative independent contractors, Plaintiff was caused to

suffer severe emotional damage and bodily injuries

DAMAGES FOR INJURED PARTY, DANIEL EDWARDS, JR.
28. As a direct and proximate result of the occurrence made the basis of this lawsuit, the

subject of this lawsuit, Daniel Edwards, Jr., was caused to suffer severe damages, and to incur the

following damages:

 

Plaintiff’s Original Petition Page 7 of 9

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A.

Reasonable and necessary medical care and expenses which will in all
reasonable probability be incurred in the future;

Physical pain and suffering in the past;
Mental anguish in the past,
Mental anguish in the future; and

Exemplary Damages.

PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiffs, Daniel Edwards, Sr., as Next

Friend of Daniel Edwards, Jr. and Felicia Edwards, as Next Friend of Daniel Edwards, Jr.,

respectfully pray that the Defendant be cited to appear and answer herein, and that upon a final

hearing of "the cause, judgment be entered for the Plaintiffs against Defendant for damages in an

amount within the jurisdictional limits of the Court; together with pre-judgment interest at the

maximum rate allowed by law; post-judgment interest at the legal rate, costs of court; and such other

and further relief to which the Plaintiffs may be entitled at law or in equity.

Respectfully submitted,

The Jackson Law Firm

Ray.lackson
Texas Bar No. 00797754
Jackson Law Center

 

 

Plaintiffs Original Petition

Page 8 0f9

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2989 N. Stemmons Freeway

Dallas, Texas 75247

Tel. (214) 651-625()

Fax. (214) 651-6244

Attorney for Plaintiffs

Daniel Edwards, Sr., and Felicia Edwards, as Next
Friend of Daniel Edwards, Jr.

PLAINTIFFS HEREBY DEMAND TRIAL BY JURY

 

Plaintiff’s Original Petition

 

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IN THE UNITED STATE DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

DANIEL EDWARDS, SR., AND
FELICIA EDWARDS,

AS NEXT FRIEND OF DANIEL
EDWARDS, JR.

Plaintiffs,
v.
GREENHILL SCHOOL,

Defendant.

 

CIVIL ACTION NO.

DEFENDANT GREENHILL SCHOOL’S
CERTIFICATE OF INTERESTED PERSONS

Defendant Greenhill School, pursuant to Local Rule 3. l(f) and Local Rule Sl.l(a)(3)(D)

and other applicable law, certifies to this Court that the following is a list of all persons,

associations of persons, firms, partnerships, corporations guarantors, insureers, affiliates, parent

or subsidiary corporations, or other legal entities who or which are financially interested in the

outcome of the above captioned case:

1) Daniel Edwards, Sr.

2) Felicia Edwards

3) Daniel Edwards, Jr.

4) Greenhill School

5) Great American lnsurance Company

6) GuideOne lnsurance

Certificate of Interested Persons - Page 1

 

 

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DATE: January 14, 2009.
Respectfully submitted,
GIBSON, DUNN & CRUTCHER LLP

By: Q_>..>`~.K @> \M
Robert B. Krakow
State Bar No. 11702000
erakow@gibsondunn.com
2100 McKinney Avenue, Suite 1100
Dallas, Texas 75201
Telephone: (214) 698-3100
Facsimile: (214) 571 -2900

ATTORNEYS FOR DEFENDANT
GREENHILL SCH()OL

Defendant Greenhill School’s Certificate of Interested Persons - Page 2

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was served via Certified Mail,
Return Receipt Requested, on this 14th day of January, 2009, as follows:

Ray Jackson

Jackson Law Center

2989 N. Stemmons Freeway

Dallas, TX 75247

Telephone: (214) 651-6250

Facsimile: (214) 651-6244

ATTORNEY FOR PLAINTlFFS,

Daniel Edwards, Sr., and Felicia Edwards,

as Next Friend of Daniel Edwards, Jr. r,
%/// %Aa
/

 

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Exhibit D

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NO. 08-15524

DANIEL EDWARDS, SR., AND IN THE 160th IUDICIAL
FELIClA EDWARDS,
AS NEXT FRIEND OF DANIEL

EDWARDS, JR.
DISTRICT COURT OF

Plaintiffs,

V' DALLAS CoUNrY, TExAs
GREENHILL scHooL,

 

Defendant.

DEFENDANT GREENHILL SCHOOL’S NOTICE OF
FILING FOR REMOVAL

Please take notice that Defendant Greenhill School has, under federal law, filed with the
Clerk of the United States District Court for the Northern District of Texas, Dallas Division, its
Notice of Removal, a copy of which is attached as Exhibit 1 to this document, and that this
action is removed to the United States District Court for trial as of today, January 14, 2009. This
Court is respectfully requested to proceed no further in this action, unless and until such time as
the action may be remanded by order of the United States District Court.

DATE: January 14, 2009.
Respectfully submitted,
` GIBSON, DUNN & CRUTCHER LLP

raysz
Robert B. Krakow
State Bar No. l 1702000
erakow@gibsondunn.com
2100 McKinney Avenue, Suite l 100
Dallas, Texas 75201
Telephone: (214) 698-3100
Facsimile: (214) 571-2900

ATTORNEYS FOR DEFENDANT
GREENHILL SCHOOL

Defendant Greenhill School’s Notice of Filing for Removal - Page 1

Case 3:09-cV-0008.| Document 1 Filed 01/14/09 l'-.e 46 of 56 Page|D 46

CERTIFICATE OF SERVICE

l certify that a true and correct copy of the foregoing was served via Certified Mail,
Return Receipt Requested, on this 14th day of January, 2009, as follows:

Ray Jackson

Jackson Law Center

2989 N. Stemmons Freeway
Dallas, TX 75247

Telephone: (214) 651-6250
Facsimile: (214) 651-6244
ATTORNEY FOR PLAINTIFFS,
Daniel Edwards, Sr., and Felicia Edwards,
as Next Friend of Daniel Edwards, Jr.

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Defendant Greenhill School’s Notice of Filing for Removal - Page 2

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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

DANIEL EDWARDS, SR., AND
FELICIA EDWARDS,
AS NEXT FRIEND OF DANIEL

EDWARDS, JR‘ crviL AcrroN No.
Plaintiffs,

V.

GREENHILL SCHOOL,

 

Defendant.
DEFENDANT GREENHILL SCHOOL’S NOTICE OF REMOVAL

Pursuant to 28 U.S.C. §§ 1441, 1443, and 1446, and in accordance with 28 U.S.C.
§ 1331, Defendant Greenhill School, by its attorneys, hereby removes to the United States
District Court for the Northern District of Texas, Dallas Division, the state court action described
below. Removal is based on the following grounds:

1. On December 12, 2008, Daniel Edwards, Sr. and Felicia Edwards, as next friend
of Daniel Edwards, Jr., commenced an action via an Original Petition (“Petition”) in the 160th
District Court of the State of Texas in and for the County of Dallas, against Greenhill School,
bearing No. 08-15524, and captioned Daniel Edwards, Sr. and Felicia Edwards, as next friend of
Daniel Edwards, Jr., v. Greenhill School (the “State Court Action”).

2. Greenhill School received a copy of the Petition on December 16, 2008. This

Notice of Removal is filed within thirty (30) days after receipt by Greenhill School of the

` Petition as required by 28 U.S.C. § 1446(b).

3. This is a civil action over which this Court has original jurisdiction under 28

U.S.C. § 1331, and is one which may be removed to this Court by Defendant under 28 U.S.C. §

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144l(b) and (c) and 28 U.S.C. § 1443, because the Petition contains a claim founded on or right
arising under the United States Constitution.and laws of the United States and involving a law
providing for equal rights

4. Plaintiffs’ Petition states, in relevant part, that “Defendant discriminated against
Plaintiff in connection with his education or limited, segregated or classified Plaintiff in a
manner that Would deprive or tend to deprive him of the equal opportunity to learn or adversely
affect his status because of Plaintiff’s race, color, and national origin,” and that “Defendant
discriminated against Plaintiff on the basis of race, color and national origin with malice or with
reckless indifference to the federal-protected rights of Plaintiff.” Petition il 12, 13.

5 . 28 U.S.C. § 1331 provides original jurisdiction in the district courts of the United
States for “all civil actions arising under the Constitution, laws, or treatise of the United States.”
28 U.S.C. § 1331. The rights Plaintiffs attempt to invoke and enforce in their Petition -the right
to equal protection of the laws and “federal-protected rights” - are rights created and guaranteed
by the Fourteenth Amendment to the United States Constitution and federal statutes Thus,
because Plaintiffs’ Petition is expressly and necessarily based on rights granted and guaranteed
by the United States Constitution and federal statutes, jurisdiction is proper in this Court.

6. 28 U.S.C. § 1441(b) permits removal to federal district court of actions involving
a federal question. Joinder of otherwise non-removable state law claims does not prohibit
removal of the entire case to federal district court to' determine all issues 28 U.S.C. § 1441(c).
Therefore, Plaintiffs’ allegations of race-based discrimination and violation of federally
protected rights present federal questions, and Plaintiffs’ joinder of state law claims does not

impede removal

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7. 28 U.S.C. § 1443 permits removal of civil actions “for any act under color of
authority derived from any law providing for equal rights”. Plaintiffs allege deprivation of
“equal opportunity” to leam. Thus7 the Petition asserts a cause of action arising out of a law
providing for equal rights and is therefore subject to removal

8. True and correct copies of all process and pleadings served on Greenhill School
are attached hereto as Exhibit A pursuant to 28 U.S.C. § 1446(a). Pursuant to Local Rule 81.1 of
this Court, Exhibit B contains an index of all documents filed in the State Court Action, a copy
of the docket sheet in the State Court Action, and a chronological, separately tabbed copy of each
document filed in the State Court Action. A separately signed certificate of interested persons in
compliance with Local Rule 3.1(f) is attached hereto as Exhibit C.

9. A copy of the Notice of Filing for Removal is attached hereto as Exhibit D.
Promptly after filing this Notice with the United States District Clerk, Greenhill School Will file
a copy of the attached Exhibit D with the 160th District Court of the State of Texas in and for the
County of Dallas, and will serve that notice on Plaintiffs as required under 28 U.S.C. § l446(d).

WHEREFORE, Greenhill School removes the State Court Action now pending in the
160th District Court in and for the County of Dallas from that state court to this Court.

DATE: January 14, 2009

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Respectfully submitted,

GIBSON, DUNN & CRUTCHER LLP

By: W Qb \»L~.)\
Robert B. Krakow
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Facsimile; (214) 571-2900
ATTORNEYS FOR DEFENDANT
GREENHILL SCHOOL

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CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing has been served by Certified Mail,
Return Receipt Requested, on this 14th day of January, 2009, as follows:

Ray Jackson
Jackson Law Center
2989 N. Stemmons Freeway
Dallas, TX 75247
Telephone: (214) 651-6250
Facsimile: (214) 651-6244
ATTORNEY FOR PLAINTIFFS,
' Daniel Edwards, Sr., and Felicia Edwards,
as Next Friend of Daniel Edwards, Jr.

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'\y ac son _ RobeitB.Krakow

Jackson Law Center

2989 N Stemmons Free_way Dallas TX 75247 .

(214) 651 6250

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'oibsr;n Dmm.& crutcher LLP `_
2100'1\-1cKinney Avenue` Suite 1100` Dallas TX 7520.1 v

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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CHECK YES only if defrauded in complaint

 

 

 

 

 

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Northern District of Texas

Q%\% . United States District Court j FBN ` §`V“’§D jj "

 
 

JAN l 4 2009 ,
Supplemental Civil Cover Sheet For Cases Remr?ved“ERK U S~B~._
From State Court ‘~"U"’E-"M_T\`W

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This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
District Clerk’s Office. Additional sheets may be used as necessary.

l. State Court Inl`ormation:

Please identify the court from which the case is being removed and specify the number
assigned to the case in that court

Court Case Number
1601h Civil District Court of Dallas County, TX 08-15524

2. Style of the Case:

Please include all Plaintifl`(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include their
bar number, firm name, correct mailing address, and phone number (including area code.)

Par_ty and Par_ty Type Attorney§s[
Plaintiffs: Daniel Edwards, Sr., and Fe|ecia Edwards, as next friend of Daniel Edwards, Jr. Ray Jackson

Jackson Law Center
2989 N. Stemmons Freeway
Dallas, TX 75247
(214) 651 -6250
TX Bar No.: 00797754
Defendant **SEE ATTACHED**

3. Jury Demand:
Was a Jury Demand made in State Court? X Yes ° No
If "Yes," by Which party and on What date?

Plaintiffs D_e_CembeLlZ,_ZOOB

Party Date

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4. Answer:

Was an Answer made in State Court? 1 X Yes ° No

If "Yes," by which party and on What date?

Defendant
Party Date

5. Unserved Parties:

The following parties have not been served at the time this case was removed:

PL!’¢! Reason§s) for No Service
N/A
6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for that
change;

PL“X w
N/A

7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

litigation:
m §L\im_(§)
Plaintiffs Plaintiffs' claims include: race based discrimination in violation of

federally protected rights; intentional infliction of emotional
distress; assault; battery, and; negligent hiring, retention and
supervision.

 

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Counsel for Defendant Greenhill School
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